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10
     JAMES SHAYLER
11                        UNITED STATES DISTRICT COURT
12                    CENTRAL DISTRICT OF CALIFORNIA
13   JAMES SHAYLER, an individual,        Case No.: 2:20-cv-11107-FMO-GJS
14
                Plaintiff,                Hon. Fernando M. Olguin
15

16      v.                                PLAINTIFF JAMES SHAYLER’S
                                          MEMORANDUM OF POINTS AND
17
     HB MAT PROPERTIES, a California      AUTHORITIES ISO MOTION IN
18   limited liability company; FUSION    LIMINE NO. 4 TO EXCLUDE
     SUSHI, a business of unknown form;   VIDEOS, PHOTOGRAPHS, OR
19
     and DOES 1-10,                       EVIDENCE FROM OTHER
20                                        MATTERS
                Defendants.
21
                                          Hearing and PTC Date: February 4, 2022
22                                        Time:                 10:00 a.m.
23                                        Location:             6D
24
                                          Complaint Filed:    December 7, 2020
25                                        Trial Date:         February 22, 2022
26

27

28
                                          1      Case No. 2:20-cv-11107-FMO-GJS
      MOTION IN LIMINE NO. 4 TO EXCLUDE VIDEOS, PHOTOGRAPHS, OR EVIDENCE
                              FROM OTHER MATTERS
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 1   I.    INTRODUCTION / MATTERS IN DISPUTE
 2
                  a. PLAINTIFF’S INTRODUCTION / MATTERS IN DISPUTE
 3

 4         It is anticipated that Defendant HB Mat Properties, a California limited
 5
     liability company (“Defendant”) will introduce videos, photographs, or evidence
 6

 7
     from other litigation, that do not pertain to Plaintiff’s condition on the dates he

 8   visited the Property. The videos and stills from the vi
 9
                  b. DEFENDANT’S INTRODUCTION / MATTERS IN
10

11                   DISPUTE
12
           The jury and this Court are not obligated to believe Shayler when he says
13
     he has disabilities necessitating the use of mobility devices to ambulate and that
14

15
     he used a cane on his alleged 3 visits to Fusion Sushi. The jury and this Court are

16
     not required to believe Shayler when he says that the alleged access violations

17   caused him injury. The videos and stills show Shayler neither needs nor uses a
18   cane or walker even though he declares under penalty of perjury that he is
19   required to do so daily. Shayler tries to explain away the videos and stills by
20   claiming his disability is episodic. The jury and this Court is not obligated to
21   believe that either, particularly in light of at least one medical record where
22   Shayler claims his disabilities are continuous. The videos and stills very much
23   prove Shayler lacks credibility, does not have a disability that impacts major life
24   activities and does not use a can or walker.
25

26   II.   MEMORANDUM OF POINTS AND AUTHORITIES
27

28
                                                2        Case No. 2:20-cv-11107-FMO-GJS
      MOTION IN LIMINE NO. 4 TO EXCLUDE VIDEOS, PHOTOGRAPHS, OR EVIDENCE
                              FROM OTHER MATTERS
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 1                a. PLAINTIFF’S MEMORANDUM OF POINTS AND
 2
                     AUTHORITIES
 3

 4                       i. LEGAL STANDARD: MOTIONS IN LIMINE
 5
           Motions in limine are well-established devices that streamline trials and
 6

 7
     settle evidentiary disputes in advance, so that trials are not interrupted mid-course

 8   for the consideration of lengthy and complex evidentiary issues.” United States v.
 9
     Tokash, 282 F.3d 962, 968 (7th Cir. 2002). “The term ‘in limine’ means ‘at the
10

11   outset.’ A motion in limine is a procedural mechanism to limit in advance
12
     testimony or evidence in a particular area.” United States v. Heller, 551 F.3d 1108,
13

14
     1111 (9th Cir. 2009) (quoting Black’s Law Dictionary 803 (8th ed. 2004)).

15         Because “[a]n in limine order precluding the admission of evidence or
16
     testimony is an evidentiary ruling” (United States v. Komisaruk, 885 F.2d 490,
17

18   493 (9th Cir. 1989) (citation omitted)), “a district court has discretion in ruling on
19
     a motion in limine.” United States v. Ravel, 930 F.2d 721, 726 (9th Cir. 1991).
20

21
     Further, in limine rulings are preliminary and, therefore, “are not binding on the

22   trial judge [who] may always change his [or her] mind during the course of a
23
     trial.” Ohler v. United States, 529 U.S. 753, 758 n.3 (2000).
24

25                      ii. DEFENDANT MUST BE PRECLUDED FROM
26
                            REFERENCING OR INTRODUCING VIDEOS,
27

28
                                                3        Case No. 2:20-cv-11107-FMO-GJS
      MOTION IN LIMINE NO. 4 TO EXCLUDE VIDEOS, PHOTOGRAPHS, OR EVIDENCE
                              FROM OTHER MATTERS
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 1                          PHOTOGRAPHS, OR EVIDENCE FROM OTHER
 2
                            MATTERS
 3

 4         Defendant has cited to photographs and videos taken over a matter of
 5
     minutes when Plaintiff visited other properties. At Plaintiff’s deposition, he was
 6

 7
     questioned about videos and photographs from certain dates that do not even

 8   overlap with the dates of Plaintiff’s visits to the Property.
 9
           Evidence is relevant if: (a) it has any tendency to make a fact more or less
10

11   probable than it would be without the evidence; and (b) the fact is of consequence
12
     in determining the action. Fed. R. Evid. 401.
13

14
           Relevant evidence is admissible unless any of the following provides

15   otherwise: the United States Constitution; a federal statute; the Federal Rules of
16
     Evidence; or other rules prescribed by the Supreme Court. Fed. R. Evid. 402.
17

18   Irrelevant evidence is not admissible. Id.
19
           The court may exclude relevant evidence if its probative value is
20

21
     substantially outweighed by a danger of one or more of the following: unfair

22   prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or
23
     needlessly presenting cumulative evidence. Fed. R. Evid. 403.
24

25         Evidence of Plaintiff’s character, motive, litigation history, and/or status as
26
     a serial litigant is irrelevant to this lawsuit. Even if such evidence were relevant,
27

28
                                                4         Case No. 2:20-cv-11107-FMO-GJS
      MOTION IN LIMINE NO. 4 TO EXCLUDE VIDEOS, PHOTOGRAPHS, OR EVIDENCE
                              FROM OTHER MATTERS
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 1   its probative value is substantially outweighed by a danger of unfair prejudice,
 2
     confusing the issues, and/or misleading the jury. See Fed. R. Evid. 403.
 3

 4         Generally, under the ADA, “the definition of disability … shall be
 5
     construed in favor of broad coverage of individuals under [the ADA], to the
 6

 7
     maximum extent permitted by the terms of [the ADA].” 42 U.S.C. § 12102(4)(A).

 8   In other words, the statute requires “disability” to be “construed broadly.” Id. The
 9
     ADA defines disability as “a physical or mental impairment that substantially
10

11   limits one or more major life activities” of an individual. 42 U.S.C. §
12
     12102(1)(A). “Major life activities” “include, but are not limited to…walking,
13

14
     standing…reaching, lifting, bending….” 42 U.S.C. § 12102(2)(A) (emphasis

15   added). The ADA Amendments Act of 2008 (“ADAAA”) was passed “to make it
16
     easier for people with disabilities to obtain protection under the ADA.” 28 C.F.R.
17

18   § 36.101(b). Further, the focus should be on whether the entities have complied
19
     with their obligations under the ADA and whether discrimination occurred; “the
20

21
     question of whether an individual meets the definition of ‘disability’ under this

22   part should not demand extensive analysis.” Id. The definition of disability
23
     includes “an impairment that is episodic…if it would substantially limit a major
24

25   life activity when active.” 28 C.F.R. § 36.105(d)(iv).
26
           Introducing such evidence will only serve to confuse and mislead the jury,
27

28
     as the images and videos only capture a minutes over a few different months.
                                             5        Case No. 2:20-cv-11107-FMO-GJS
      MOTION IN LIMINE NO. 4 TO EXCLUDE VIDEOS, PHOTOGRAPHS, OR EVIDENCE
                              FROM OTHER MATTERS
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 1   They do not depict Plaintiff’s condition on the exact dates and times that he
 2
     visited the Property, and thus they are completely irrelevant. Nor do they depict
 3

 4   Plaintiff’s condition on each minute of every day, and the ADA has recognized
 5
     that individuals with episodic disabilities are in fact disabled. Thus, this Court
 6

 7
     should grant Plaintiff’s Motion in Limine No. 4.

 8                b. DEFENDANT’S MEMORANDUM OF POINTS AND
 9
                     AUTHORITIES
10

11
           Shayler must prove he suffers from a disability that “substantially limits
12
     one or more major life activities” including walking. 42 U.S.C.S. § 12102.
13
           Shayler must also prove an injury in fact to have standing to sue. “[A]
14
     disabled person suffers an injury in fact when he ‘encounter[s] a barrier’ at a
15
     place of public accommodation ‘that deprives him of full and equal enjoyment of
16
     the facility due to his particular disability.’ [Citation.] [Emphasis added.]”
17
     Oliver v. Ralphs Grocery Co., 654 F.3d 903, 907 (9th Cir. 2011).
18
           Shayler must further prove he suffered difficulty, discomfort or
19
     embarrassment or some other injury to prove damages under Civil Code §§ 52
20
     and 55.56. Mundy v. Pro-Thro Enterprises, 192 Cal.App.4th Supp. 1, 5-6 (2011);
21
     Doran v. 7-Eleven, Inc., 509 F. App'x 647, 648 (9th Cir. 2013); Kohler v.
22

23
     Presidio Int'l, Inc., 2016 U.S. Dist. LEXIS 93519, at *7 (C.D. Cal. Apr. 19,

24
     2016); Whitaker v. BOP FIGAT7TH LLC, 2019 U.S.Dist.LEXIS 37086, at *9

25   (C.D. Cal. Mar. 6, 2019). And more recently see, Arroyo v. Rosas, 2021 U.S.
26   App. LEXIS 36510, at *28 (9th Cir. Dec. 10, 2021).
27         Thus, Shayler must demonstrate the alleged failure to install accessible
28
                                                6        Case No. 2:20-cv-11107-FMO-GJS
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                              FROM OTHER MATTERS
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 1
     parking or other accessible features applies to his alleged disability, which
 2
     substantially limits his ability to walk, and that a harm resulted from such failure.
 3
     Shayler’s ability to walk without a cane or walker is very relevant to the issues in
 4
     this case. But, Shayler seems to think that the jury and this Court is required to
 5
     believe him when he says his disability is episodic to explain away the videos and
 6
     stills showing him walking without a cane or walker. Every witness, every party
 7
     is subject to impeachment of his or her credibility. Ninth Circuit Manual of
 8

 9
     Model Civil Jury Instructions, Instruction No. 1.14, Credibility of Witnesses.

10
           The very claim of episodic disability challenges Shayler’s credibility. In

11   Exhibit 101, a Beverly Hospital medical report dated February 11, 2020, Shayler
12   provided the following information that states his purported disability is not
13   episodic:
14

15

16

17

18

19

20         If his disability was episodic, Shayler should have reported that he rarely or
21
     occasionally twists, stoops (bends), crouches/squats, climbs ladders, climb stairs.
22
     Exhibit 128, stills from a video taken July 14, 2021 and the video itself (Exhibit
23
     113), shows Shayler stooping and crouching. Exhibits 112 and 130 and his
24
     deposition testimony establish Shayler walked down stairs consisting of 6 steps to
25
     get to the sidewalk outside the CPAP store. These exhibits and more impeach
26
     Shayler’s claim of episodic disability and further impeach his statements to his
27
     medical providers.
28
                                                7        Case No. 2:20-cv-11107-FMO-GJS
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 1
           The videos and stills are not unfairly prejudicial; they are proper challenges
 2
     to Shayler’s credibility. “Unless trials are to be conducted as scenarios, or unreal
 3
     facts tailored and sanitized for the occasion, the application of Rule 403 must be
 4
     cautious and sparing.” United States v. Hankey, 203 F.3d 1160, 1172 (9th Cir.
 5
     2000). Trials of course must provide to the jury and Court the unvarnished facts.
 6
     “Court proceedings are held for the solemn purpose of endeavoring to ascertain
 7
     the truth which is the sine qua non of a fair trial.” Estes v. Texas, 381 U.S. 532,
 8

 9
     540, 85 S. Ct. 1628, 1631 (1965). “The purpose of a trial is to develop the truth,

10
     not suppress it.” United States v. Brown, 501 F.2d 146, 160 (9th Cir. 1974) (rev.

11   in United States v. Nobles, 422 U.S. 225, 95 S. Ct. 2160 (1975) in dissent by
12   circuit judge.
13         Shayler seeks to prevent the jury and this Court from viewing all relevant
14   evidence that impacts the credibility of his claim that he has disabilities that he
15   alleges substantially limits his ability to walk, giving rise to this and 200 other
16   lawsuits. He wants a trial devoid of opposition to the claim that architectural
17   impacted his disability and that he suffered difficulty, discomfort or
18   embarrassment.
19         Shayler is not entitled to a free pass on his claims of disability, standing to
20   sue and damages.
21

22         III.   CONCLUSION
23
                  a. PLAINTIFF’S CONCLUSION
24

25         Defendant should be precluded from introducing videos, photographs, or
26
     evidence depicting Plaintiff from other matters. Such references are wholly
27
     irrelevant to the issues at hand (i.e., whether Defendant violated the ADA and
28
                                                 8       Case No. 2:20-cv-11107-FMO-GJS
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 1   UCRA) and would be highly prejudicial. Thus, the Court should grant Plaintiff’s
 2
     Motion in Limine No. 4 and preclude Defendant from introducing such evidence.
 3

 4                b. DEFENDANT’S CONCLUSION
 5
           Shayler obviously does not understand that the action is not limited to a
 6
     determination of whether violations exist on the property. Shayler must prove his
 7

 8
     disability substantially limits his walking, prove his standing to sue, prove the

 9
     alleged violations impacted his purported disability and prove that suffered harm

10   for damages. The motion in limine should be denied because Shayler’s
11   credibility on these issues is directly challenged by video and still exhibits.
     Dated: January 14, 2022             THE LAW OFFICE OF HAKIMI & SHAHRIARI
12

13                                     By:    /s/ Anoush Hakimi
14                                           Anoush Hakimi, Esq.
                                             Attorneys for Plaintiff James Shayler
15

16

17
      Date: January 14, 2022                   ________________________________
18                                             James S. Link
19                                             Attorney for Defendant HB Mat
                                               Properties, LLC
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24

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                                                9        Case No. 2:20-cv-11107-FMO-GJS
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